                            Case 18-10512-KBO          Doc 2226         Filed 01/04/21        Page 1 of 7



                                     IN THE UNITED STATES BANKRUPTCY COURT
                                          FOR THE DISTRICT OF DELAWARE

                                                                           )
                 In re:                                                    )     Chapter 11
                                                                           )
                 Zohar III, Corp., et al.,1                                )     Case No. 18-10512 (KBO)
                                                                           )
                                                   Debtors.                )     Jointly Administered
                                                                           )
                                                                           )

                                                  CERTIFICATE OF SERVICE

                          I, Chad Corazza, hereby certify that on December 31, 2020, I caused a copy of the

             foregoing document, Order Approving Interim Fee Application of Direct Fee Review LLC

             for the Period from May 1, 2020 through November 30, 2020 [Docket No. 2221], to be

             served upon the below counsel in the manner indicated below:

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             1
               The Debtors, and, where applicable, the last four digits of their taxpayer identification number are as follows:
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             (9261), Zohar II 2005-1, Limited (8297), and Zohar CDO 2003-1, Limited (5119). The Debtors’ address is 3
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27496489.2
                   Case 18-10512-KBO        Doc 2226    Filed 01/04/21   Page 2 of 7


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27496489.2
                    Case 18-10512-KBO           Doc 2226   Filed 01/04/21   Page 3 of 7


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27496489.2
                    Case 18-10512-KBO          Doc 2226       Filed 01/04/21   Page 4 of 7


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27496489.2
                    Case 18-10512-KBO           Doc 2226   Filed 01/04/21   Page 5 of 7


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27496489.2
                   Case 18-10512-KBO         Doc 2226   Filed 01/04/21   Page 6 of 7


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27496489.2
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